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 8
 9                        UNITED STATES DISTRICT COURT

10                   SOUTHERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,               Case No.: '22CV1791 WQHAHG
12
               Petitioner,
13                                           PETITION TO ENFORCE THE UNITED
          v.                                 STATES FEDERAL AVIATION
14                                           ADMINISTRATION’S SUBPOENA TO
     WILLIAM WAGNER                          WILLIAM WAGNER
15
16              Respondent.

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 1        Petitioner, the United States Federal Aviation Administration (hereafter the
 2 “FAA” or “The United States”) files this Petition for Enforcement of two lawful
 3 administrative subpoenas issued by the FAA to Respondent William Wagner, owner
 4 and operator of Wagner Aeronautical, Inc., a California company (hereafter “Wagner”
 5 or “Respondent”). The United States petitions the Court to enter an order requiring
 6 Wagner to comply with both subpoenas. See 49 U.S.C. § 46104(b).
 7     In support of this petition, the United States hereby states as follows:
 8        1.      On March 15, 2022, the FAA issued a subpoena duces tecum (hereafter

 9 “Document subpoena,” attached as Exhibit A) to Wagner seeking the production of 4
10 categories of documents. On April 26, 2022, the FAA issued a deposition subpoena to
11 Wagner (hereafter “Deposition Subpoena,” attached as Exhibit B) seeking his
12 deposition to take place on May 4, 2022. These subpoenas were issued under the
13 authority of 49 U.S.C. Sections 40113(a), 46101, 46104, 46313, and are judicially
   enforceable under 49 U.S.C. Section 46104(b).
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         2.      For the reasons stated in the Petitioner’s Memorandum of Points and
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   Authorities, filed contemporaneously with this Petition, the two subpoenas are valid and
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   enforceable. They were properly served upon respondent pursuant to an investigation
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   within the FAA’s authority. The subpoenas are not too indefinite, and the information
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   sought is reasonably relevant to the FAA’s investigation. Respondent cannot show that
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   compliance with the subpoenas will impose an unreasonable or undue burden.
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         3.      Respondent has refused to comply with the FAA’s Subpoenas,
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   and there is no valid reason for the Respondent’s noncompliance.
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         4.      The Court has federal question jurisdiction over the FAA’s Petition
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   pursuant to 28 U.S.C. § 1331 because the Petition arises under federal law, namely
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   49 U.S.C. § 46104(b), which authorizes the FAA to “petition the court of the United
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   States to enforce” the subpoenas. Venue is proper pursuant to 28 U.S.C. § 1391(b)
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   because the Respondent resides in or does business in this judicial district and the FAA
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   has been conducting this investigation in this judicial district.
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 1        5.     In support of this Petition, the FAA further submits the attached
 2 Declaration of Brian K. Khan, an attorney with the FAA’s Office of the Chief Counsel,
 3 and additional exhibits attached thereto.
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 5        Wherefore, the Petitioner respectfully petitions the Court to issue an order
 6 enforcing the subpoenas and for all other just and appropriate relief.
 7
 8        DATED:       November 10, 2022                Respectfully submitted,
 9
                                                        RANDY S. GROSSMAN
10                                                      United States Attorney

11
                                                        s/ Steve B. Chu
12
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13                                                      Assistant United States Attorney
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